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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                           Chapter 11
In re:
                                                           Case No. 17-10570(BLS)
Bostwick Laboratories, Inc., et al.,l
                                                           Jointly Administered
                 Post-Effective Date Debtors.
                                                           Response Deadline: September 25, 2018 at 4:00 p.m.
                                                           .Hearing Date: October 25, 2018 at 11:00 a.m.

             NOTICE OF PLAN ADMINISTRATOR'S THIRD OMNIBUS
         (NON-SUBSTANTIVE)OBJECTION TO CERTAIN(A)AMENDED AND
              SUPERSEDED CLAIMS AND(B)NO LIABILITY CLAIMS

TO:      (i) the U.S. Trustee; (ii) counsel to the Debtors; (iii) all parties that have filed a notice of
         appearance in these chapter 11 cases pursuant to Bankruptcy Rule 2002; and (iv) the
         Claimants.

                  PLEASE TAKE NOTICE that on September 11, 2018, James P. Carroll, solely

in his capacity as the plan administrator ("Plan Administrator") for the post-effective date above-

captioned debtors ("Debtors"), filed the Plan AdministNator's Third Omnibz~s (Substantive)

Objection to Certain (A) Amended and Superseded Claims and (I3) No Liability Claims (the

"Objection"), with the United States Bankruptcy Court for the District of Delaware, 824 Market

Street, Wilmington, Delaware              19801 (the `Bankruptcy Court"), which seeks an order

disallowing the claims identified on Exhibits 1 and 2 attached to the Proposed Order. A copy of

the Objection is attached hereto.

                  PLEASE TAKE FURTHER NOTICE that any response to the relief sought in

the Objection must be filed with the Bankruptcy Court on or before September 25, 2018 at

4:00 p.m. prevailing Eastern Tiuze.                                                                                   i

'The Post-Effective Date Debtors are the following entities (last four digits ofEIN in parentheses): (i) Bostwick
Laboratories, Inc., a Delaware corporation (3169); and (ii) Bostwick Laboratories Holdings, Inc., a Delaware
corporation (1042). The current mailing address for the Post-Effective Date Debtors is James P. Carroll as the Plan
Administrator, c/o Can•oll Services LLC,4450 Bonita Beach Road, Suite 9, Bonita Springs, FL 34134.


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                 PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a copy of the response or objection upon: (i) Bostwick Laboratories Inc., 100 Charles

Lindbergh Blvd., Uniondale, NY 11553, (Attn: James P. Carroll); (ii) Debtors' counsel,

Pepper Hamilton LTP, Hercules Plaza, Suite 5100, 1313 N. Market Street, Wilmington, DE

19801, (Attn: David B. Stratton, Esq.); (iii) the Office of the United States Trustee, 844 King

Street, Suite 2207, J. Caleb Boggs Federal Building, Locicbox 35, Wilmington, Delaware

19801 (Attn: Jane Leamy, Esq.); (iv) counsel for the debtor-in-possession lender, Baker,

Donelson, Bearman, Caldwell & Berkowitz, PC, 165 Madison Avenue, Suite 2000,

Memphis, Tennessee 38103, (Attn: F,. Franklin Childress, Jr., Esq.) and       Morris, Nichols,

Arsht & Tunnell LLP, 1201 N. Market Street, 16th Floor, Wilmington, Delaware 19801

(Attn: Derek C. Abbott, Esq.); and (v) counsel for the Plan Administrator, Sheppard, Mullin,

Richter & Hampton LLP, 30 Rockefeller Plaza, Floor 39, New York, NY 10112 (Attn: Malani

J. Cademartori, Esq. and Nirav Bhatt, Esq.) and Pachulski Stang Ziehl &Jones LLP, 919 N.

Market Street, 17th Floor, Wilmington, DE 19801 (Colin R. Robinson, Esq.) (collectively, the

"Notice Parties).

                 PLEASE TAKE FURTHER NOTICE THAT IF A TIMELY RESPONSE TO

THE OBJECTION IS RECEIVED, A HEARING ON "THE OBJECTION (THE "HEARING")

WILL BE HELD BEFORE THE HONORABLE BRENDAN L. SHANNON AT THE UNITED

STATES BANKRUPTCY COURT, 824 NORT~I MARKET STREET, SIXTH FLOOR,

COURTROOM #1, WILMINGTON,DELAWARE 19801 ON OCTOBER 25,2018, AT 11:00

A.M,PREVAILING EASTERN TIME. The Hearing may be continued from time to tiYne upon


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written notice to you or oral announcement in Bankruptcy Court.

                 PLEASE TAKE FURTHER NOTICE that if you file a response to the

Objection, you should be prepared to argue that response at the Hearing. You need not appear at

the Hearing if you do not oppose the relief requested in the Objection. IF YOU FAIL TO

RESPOND IN ACCORDANCE WITH 'PHIS NOTICE, THE BANKRUPTCY COURT MAY

GRANT THE RELIEF DEMANDED BY THE OBJECTION WITHOUT FURTHER NOTICE

OR HEARING.


                 PLEASE TAKE FURTHER NOTICE that each claimant should read the

Objection, which describes the grounds for the objection to the claims set forth therein. Any

response filed with the Bankruptcy Court must contain at a minimum the following:

                 a.          a caption setting forth the name of the Bankruptcy Court, the name of the

Debtor, the case number, and the title ofthe Objection;

                 b.          the name of the claimant and description of the basis for the amount of the

claim;

                 c.          a concise statement setting forth the xeasons why the claim should not be

disallowed for the reasons set forth in the Objection, including, but not limited to, the specific

factual and legal basis upon which the claimant will rely in opposing the Objection;

                 d.          all documentation or other evidence of the claim, to the extent not

included with the proof' of claim previously filed with the Bankruptcy Court, upon which the

claimant will rely in opposing the Objection at the Hearing; and

                 e.          the name, address, and telephone number of the person (who may be the

claimant or the claimant's legal representative) possessing ultimate authority to reconcile, settle,

or otherwise resolve the claim on behalf of the claimant.



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                PLEASE TAKE FURTHER NOTICE that questions about the Objection or

requests for additional information about the proposed disposition of the claim should be

directed to counsel for the Plan Administrator at the address or telephone number set forth

below. The Plan Administrator reserves the right to object in the future to any of the proof of

claim that is the subject of the Objection on any further or additional grounds. Separate notice

will be made and a separate hearing will be scheduled for any such objection,



Dated: September 11, 2018                       PACHULSKI STANG ZIEHL &JONES LLP
       Wilmington, Delaware
                                                /s/Colin R. Robinson
                                                Colin R. Robinson(DE Bar No. 5524)
                                                                           'Floor
                                                919 North Market Street, 17t}
                                                P.O. Box 8705
                                                Wilmington, Delaware 19899-8705 (Courier
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                                                Telephone: (302)778-6426
                                                Facsimile:    (302)652-4400
                                                Email: crobinson@pszjlaw.com

                                                - and —

                                                SHEPPARD, MULLIN,RICHTER &
                                                HAMPTON LLP
                                                Malani J. Cademartori (admitted pNo hac vice)
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                                                Attorneysfor the Plan AdministratoN




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